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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF MASSACHUSETTS

                                                           CRIMINAL #19-CR-10104-ADB
                                   _________________________

                                         UNITED STATES

                                                  v.

                                      DIOVANNI CARTER
                                   _________________________

                  DEFENDANT’S MEMORANDUM IN OPPOSITION TO
                      GOVERNMENT’S MOTION IN LIMINE TO
                    ADMIT JAIL RECORDING OF DARIUS CARTER

                                        INTRODUCTION

       The government has moved in limine to admit a recorded jail call allegedly made by co-

defendant Darius Carter to his parents on March 5, 2019. This call took place 38 days after the

robbery of the T-Mobile store and after all four of the individuals charged with participating in that

robbery had been arrested. During the portion of the call the government seeks to introduce, Darius

Carter allegedly stated, inter alia: “Whenever you all speak to that kid Dio, just let that nigga know,

keep his fucking mouth closed. Don’t even be talking.”

       This out-of-court statement is clearly inadmissible for myriad reasons. First, the recording

would not tend to make any fact of consequence in the case more or less probable than it would be

without the recording. Accordingly, it is not relevant under F.R.E. 401. Second, with the exception
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of the two sentences quoted above, the entire recording is hearsay, hence inadmissible under F.R.E.

802. It does not fit under the co-conspirator exception set forth in F.R.E. 801(d)(2)(E) since it was

not made during and in furtherance of the conspiracy alleged in the indictment. Finally, any

negligible probative value of this recording (or any portion thereof) is substantially outweighed by

the danger of unfair prejudice to the defendant and thus should be excluded under F.R.E. 403.

         A.       The Recording is Not Relevant.

         Under F.R.E. 401, evidence is relevant if it has any tendency to make a fact of consequence

to determining the case more or less probable than it would be without the evidence. The recording

proffered by the government fails this most basic test of admissibility. The charges before the jury

are that the defendant conspired to rob the T-Mobile store in Brockton on January 26, 2019 and

committed various substantive offenses in connection with that robbery. This recording sheds

absolutely no light on whether the defendant committed any of those charged offenses. As the First

Circuit observed in another conspiracy case, “a prosecutor cannot justify the receipt of prejudicial,

inadmissible evidence simply by calling it ‘background’ or ‘context’ evidence or by asserting that

it has a non-hearsay relevance to an issue that is itself not relevant.” United States v. Benitez-Avila,

570 F. 3d 364, 368 (1st Cir. 2009).1

         The government argues that the recording is relevant to proof of a continuing conspiracy with

“evolving goals”. Gov. Motion at 10. This lame argument was rejected by the Supreme Court more

than 70 years ago in Krulewitch v. United States, 366 U.S. 440, 442-443 (1949). The conspiracy

charged in this case had a single alleged objective– to take property belonging to the T-Mobile store


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                   While the First Circuit’s opinion does not specifically enumerate the charges, the defendant in Benitez-
Avila was, in fact, charged and convicted on several conspiracy counts. See docket in United States v. Benitez-Avila,
#05-CR-00381-JAG (D.P.R).

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by force and violence. No continuing criminal enterprise was alleged, nor was any other objective

of the conspiracy specified in the indictment. The relevance of this particular evidence must be

measured against the actual charges in this case, not imaginary charges or an uncharged protean

conspiracy with “evolving” objectives. That is not how the Rules of Evidence operate in our system

of criminal justice.

       B.      With the Exception of Two Sentences, the Entire Recording is Hearsay.

       The government correctly points out that commands, instructions, and requests do not

constitute hearsay because they have no factual content and thus cannot be offered to prove the truth

of that content. See, e.g., United States v. Murphy, 193 F.3d 1, 4-5 (1st Cir. 1999). That

characterization would seem to fit the two sentences quoted in the introduction to this memorandum.

However, the rest of the excerpts quoted in the government’s motion all constitute hearsay since they

all involve assertions of fact, e.g. “They caught up with ya boy;” “Brockton. He’ll be out there

tomorrow;” “He was in Mattapan Square;” “I talked to him two days ago;” “We already got the

nigga, the co-d snitching.” All of these statements constitute hearsay, inadmissible under F.R.E. 802,

unless they fall under a recognized exception to the rule against hearsay.

       C.      The Recording Does Not Constitute a Co-Conspirator Statement Under F.R.E.
               801(d)(2)(E).

       Contrary to the government’s argument, statements made by Darius Carter 38 days after the

T-Mobile robbery and after all four of the individuals charged with participating in that robbery had

been arrested do not qualify as co-conspirator statements since they were not made during the

pendency of and in furtherance of the single-objective conspiracy charged in the indictment. A

proper analysis of this legal issue should necessarily start with the Supreme Court’s landmark



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decision in Krulewitch. There, the government argued that statements made by an alleged co-

conspirator some six weeks after the central aim of the alleged conspiracy had been completed were

admissible because “even after the central criminal objectives of a conspiracy have succeeded or

failed, an implicit subsidiary phase of the conspiracy always survives, the phase which has

concealment as its sole objective.” 336 U.S. at 443. As the Court put it, the government “now asks

us to expand this narrow exception to the hearsay rule [for co-conspirator statements] and hold

admissible a declaration, not made in furtherance of the alleged ... conspiracy charged, but made in

furtherance of an alleged implied but uncharged conspiracy aimed at preventing detection and

punishment.” Id. at 444. The Court explicitly rejected this argument, noting: “We are not persuaded

to adopt the government’s implicit conspiracy theory which in all criminal conspiracy cases would

create automatically a further breach of the general rule against the admission of hearsay evidence.”

Id. The First Circuit had repeatedly applied Krulewitch to hold post-arrest statements inadmissible

under F.R.E. 801(d)(2)(E). E.g., United States v. Meises, 645 F.3d 5, 18 n.21 (1st Cir. 2011); United

States v. Lombard, 72 F.3d 170, 189 n.25 (1st Cir. 1995); United States v. Serrano, 870 F.2d 1, 8-9

(1st Cir. 1989); United States v. Palow, 777 F.2d 52, 57 (1st Cir. 1985).

       In Grunewald v. United States, 353 U.S. 391, 405 (1957), the Court refined Krulewitch,

noting the existence of a “vital distinction” between acts of concealment done in furtherance of the

main criminal objective of a conspiracy and acts of concealment done after those central objectives

have been achieved (or failed) for the sole purpose of covering up the crime. Thus, in a case

involving ongoing criminal activity, the First Circuit has held that post-arrest statements made by

a co-conspirator were admissible under the co-conspirator exception since those statements “were

intended to prevent the law enforcement officers from putting her out of business – and thus to allow


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the conspiracy to continue operating.” United States v. Diaz, 597 F.3d 56, 67-68 (1st Cir. 2010). In

this case, in contrast to Diaz, there is no doubt that the sole objective of this alleged conspiracy, i.e.

to rob the T-Mobile store on January 26, 2019, had long since evaporated by March 5, 2019 when

Darius Carter allegedly made this phone call. Thirty-eight days had elapsed. All four persons

charged with participating in the robbery had been arrested. There is not of any suggestion in the

indictment of ongoing criminal activity, let alone a separate conspiracy to obstruct justice.

Accordingly, under Krulewitch and its progeny, none of these statements qualifies under the co-

conspirator exception to the rule against hearsay.

        D.      Even if it were Otherwise Admissible, the Recording Should be Excluded Under
                F.R.E. 403.

        Evidence which is otherwise relevant and admissible may be excluded under Rule 403 if its

probative value is substantially outweighed by the danger of unfair prejudice. See Benitez-Avila, 570

F.3d at 368. These statements attributed to Darius Carter should be excluded under this balancing

test. Any conceivable probative value of these statements (and the defendant asserts that their

probative value is nil at his trial) would be substantially outweighed by the unfair prejudice he would

suffer. Diovanni Carter is not a party to this conversation. He is not alleged in this conversation to

have done anything in the past or to be planning anything in the future. While the alleged statements

may reflect on the declarant’s state-of-mind, they say absolutely nothing about Diovanni’s mens rea,

let alone whether or not he actually participated in the robbery at issue. In seeking to admit this

statement, the government is endeavoring to convict Diovanni by imputing his brother’s state-of-

mind to him. That is impermissible; it is unfair; and it violates F.R.E. 403.




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                                                   CONCLUSION

         For the foregoing reasons, the government’s motion in limine to admit the jail recording of

Darius Carter on March 5, 2019 should be denied.

                                                                  Respectfully submitted,

                                                                  DIOVANNI CARTER

                                                                  By his attorneys,



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                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
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registered participants on February 12, 2020.



                                                                                         /s/ James L. Sultan




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